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                                       GENERAL GUARD SERVICES AGREEMENT

                 THIS GENERAL SERVICES AGREEMENT (the "Agreement") is made and entered into as of
                       , 2013, by and between FEDEX FREIGHT, INC, ("FedEx") and Universal Protection
         Service ("the Contractor"),

                                                          RECITALS

                 1. FedEx desires to engage Contractor to perform the services described as particularly in this
         Agreement, on a non-exclusive basis.


                2. Contractor is willing and able to perform the services for FedEx in accordance with the
         terms of this Agreemenl.

                 FOR AND IN CONSIDERATION of the mutual covenants contained in this Agreement, FedEx and
         Contractor (the "Parlies") agree as follows:

                  Section 1. Scope of Work, (a) In consideration of FedEx's payments under this Agreement,
         Contractor shall perform certain services requested by FedEx from time to time by Services substantially in
         the fonn of Exhibit A ("Services") at the locations and for fees set forth in Exhibit B, FedEx may order
         extra work or make changes by altering, adding to, or deducting from (he Services by an agreement that
         reflects any such change on the attached Exhibit B. Services pursuant to a valid change shall be performed
         subject to the conditions of this Agreement,

                Section 2, Term, (a) The term of this Agreement ("Term") shall commence as of January 4
         2014 @ 00:01 and shall expire January 3, 2017 (the "Completion Date"), unless sooner terminated in
         accordance witli the terms hereof. If, upon the expiration or termination of this Agreemenl, any Sei"vices
         are outstanding, the terms and conditions of this Agreement shall remain in effect until the completion or
         earlier termination of such Services,

                (b) Both parties hereto shall have the unlimited right to terminate this Agreement or any
         Services issued hereunder before the Completion date by giving thirty (30) days' prior written notice to
         Contractor and in the case of a termination by Contractor by giving thirty (30) days' prior written notice to
         FedEx. In the event of a termination by either party, Contractor shall be entitled only to portions of the Fee
         earned and Reimbursables actually incurred as of the effective termination date.

                 Section 3. Contractor's Fee, (a) For and in consideration of the Work provided in accordance
         with this Agreement, FedEx shall pay to Contractor a fee (the "Fee") for the performance of the Services as
         specified and set forth in Exhibit B. Payment of the Fee by FedEx shall be as otherwise specified in Exhibit
         B subject to receipt and acceptance by FedEx of the applicable deliverable(s), as outlined in Exhibit A.
         FedEx will pay the Contractor in current funds for complete performance of the Work, subject to additions
         and deductions by updated Exhibit B or as otherwise provided in this Agreement. However, no portion of
         the Fee shall be payable unless properly documented in accordance with Section 5.




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               (b) (i) Any and all taxes, excises, duties and assessments whatsoever (including interest)
("Tax" or 'Taxes") arising out of the charge Ibr the performance of the Work, in any manner levied,
assessed or imposed by any goveminent shall be responsibility of FedEx. Contractor shall fiilly cooperate
with FedEx in contesting or protesting the validity or application of any such Tax, In the event Contractor
shall receive a refund of all or any part of such Tax which FedEx has paid and discharged, the amount of
such refund shall be promptly remitted to FedEx,

               (ii) FedEx's obligations under Section 3(b) (i) shall not extend to any of the following:
(x) Taxes based upon, measured by or with respect to, the net or gross income, receipts, capital or auy other
similarly-based taxes of Contractor; or (y) amounts (including, but not limited to taxes, interest, and
penalties) imposed on Contractor that would not have been imposed but for the willful misconduct or
negligence of Contractor,

              (c) FedEx's payment for services will be at a standard rate for standard time worked and
a holiday/overtime rate for any holiday or overtime worked as outlined in Exhibit B. FedEx's recognized
Molidays are as follows: New Year's Day, Memorial Day, Independence Day (July Labor Day,
Thanksgiving Day, Thanksgiving Friday, Christmas Eve and Christmas Day.

               (d) Fixed pricing will be reviewed after the first and second years with approximately
1.9 % increase in the Central Region and 2.4% for Western regions for the second and third years.



       Section 4. Reimbursable Expenses. (a) FedEx will not be responsible for Contractor expenses
incurred by Contractor in the performance of the Services, except those listed in Exhibit A of this
Agreement. All other reimbursables are already factored into the Fee.

               (b) Contractor agrees to reimburse FedEx for one half of any miss-pulled trailers that
leave the gate and have to be redirected en route to destination.

       Section 5. Invoices and Records. Unless otherwise provided, Contractor's Fee shall be payable
within forty-five (45) days of approval by FedEx of invoices rendered by Contractor for Work performed
during the preceding invoice period. Each invoice shall be accompanied by any documentation in support
of the Fee invoiced specified in the applicable services. FedEx shall pay the amount properly payable under
the invoice, less any appropriate deductions. No payment by FedEx shall be deemed an acceptance of the
Work, and FedEx shall have the right to recover any amounts previously paid in error, or to the extent
agreed by Contractor, to withhold monies from future payments, for charges associated with Services not
performed m accordance with this Agreement. In addition, Contraclor'a records related to the performance
of the Work shall be open to audit by FedEx or any authorized representative of FedEx during the term of
this Agreement plus the earlier to occur of (i) 2 years after Completion dale; or (ii) earlier termination of
this Agreement.

       Section 6, Right to Withhold Payments. In addition to its right to withhold payments, FedEx
may withhold any payment in whole or part to protect itself from (i) unsatisfacloiy performance of the
Work by Contractor, and (ii) failure of Contractor to make payments properly to any of its subcontractors,
or (iii) evidence of fraud, overbilling or over-payment discovered upon audit. At least fifteen (15) days
prior to any withholding FedEx shall provide Contractor with written notice of its intent to withhold
payment together with documentation and all relevant information concerning the basis for the withholding.

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        Section 7, Independent Contractor Relationship, (a) The Parties intend that an independent
contractor relationship will be created under this Agreement, FedEx is interested only in the results of
Contractor Performance and shall not exercise any control over the conduct or supervision of the Work or
the means of its performance. Accordingly, Contractor shall have full responsibility for the collection and
payment of all international, federal, state, and local taxes and contributions, including penalties and
interest, imposed pursuant to unemployment insurance, social security^ income lax, workers' compensation
or any other similar statute. Contractor shall indemnity and hold FedEx harmless tor any liability
(including taxes, interest, and penalties) resulting from improper or incorrect tax reporting, withholding,
remitting, etc, or from the failure to file, collect, report or pay any of the above mentioned employment
taxes. Contractor shall also indemnify and hold FedEx harmless for any liability resulting from an
employee of Contractor claiming to be an employee of FedEx (except to the extent resulling from FedEx's
negligence or intentional misconduct), including, but not limited to, any claim on the part of the
Contractor's employee to benefits FedEx provides to its employees.

       (b) FedEx and Contractor agree that in the event one hires the employee of the other to perform
the same or similar work within in one (1) year of the time the employee was working under this contract, a
$1,000 payment will be made to the employee's prior employer.

         Section 8. Disclosure of Information, (a) Contractor acknowledges that certain of FedEx's
valuable, confidential, and proprietary information may come into Contractor's possession, including,
without limitation, certain information pertaining to FedEx's employees. Accordingly, Contractor agrees to
hold all information it obtains -from or about FedEx in strictest confidence, not to reproduce any of the
Information without FedEx's consent, not to use such information, other than for the performance of the
Work, and to cause any of its employees or subcontractors to whom such information is transmitted to be
bound to the same obligation of confidentiality to which Contractor is bound. Contractor shall not
communicate FedEx's Information in any form to any third party without FedEx's prior written consent. In
the event of any violation of this provision, FedEx shall be entitled to preliminary and permanent injunctive
relief, as well as an equitable accounting of all profits or benefits arising out of such violation, which
remedy shall be in addition to any other rights or remedies to which FedEx may be entitled to preliminary
and permanent injunctive relief as well as an equitable accounting of all profits or benefits arising out of
such violation, which remedy shall be in addition to any other rights or remedies to which FedEx may be
entitled. For purposes of this Agreement, FedEx's Confidential information shall also be deemed to
include, without limitation, the confidential and proprietary information of any entity owning all or a
majority of FedEx's outstanding corporate stock ("Parent Corporation") and of any entity a majority or all
of whose coiporate stock is owned, directly or indirectly, by the Parent Corporation (Affiliate), whether
such information is provided to Company by FedEx, the Parent Corporation or any Affiliate.

       (b) FedEx and Contractor agree to exchange information concerning known, perceived or
suspected local criminal activities that may affect the secure premises and operations of FedEx. The parties
agree that such information may be both privileged and confidential, and that both the source and
information will not he revealed to unnecessary person or firms.

        Section 9. Indemnification. Contractor agrees to indemnify, defend and hold harmless FedEx,
its directors, officers, and employees from any and all liabilities, damages, losses, expenses, demands,
claims, suits, or judgments, including reasonable attorneys' fees and expenses, to the extent resulting from
Contractor's negligence or willftil misconduct in the performance of its obligations under this Agreement,

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including, bul not limited to any claim for payment made by a subcontractor, agent, or employee of the
Contractor, Contractor's obligation to so indemnity, defend and bold harmless FedEx shall survive the
expiration or earlier termination of this Agreement.

        Section 10. Insurance, (a) Contractor and any and all sub-contractors shall at all times during
the performance of the Work, the Contractor shall maintain Commercial General Liability insurance for
bodily injury, and property damage, including contractual liability, products and completed operations;
Broad Form Property Damage; Workers Compensation at statutory limits; Employers Liability Insurance;
Personal Injury insurance, and Commercial Liability insurance if operating automotive vehicles as set out in
attached Exhibit C.

         (b) All insurance policies maintained by the Contractor shall provide that insurance as applying
to FedEx shall be primary and FedEx's insurance shall be noncontributing irrespective of any insurance
FedEx maintains.

        (c) All insurance maintained by the Contractor will pursuant to this Section 10 shall be written
by insurance companies licensed to do business in the state in which the Work is performed, and shall
provide that insurance will not be subject to cancellation, termination, or change except after ten (10) days1
prior written notice to FedEx.

         (d) All liability insurance policies maintained by the Contractor pursuant to this Agreement
shall be endorsed to name FedEx and its respective officers, directors and employees as additional
insured's, and all property damage and worker's compensation insurance as required by applicable law.

        (e) Prior to commencement of the Work, and thereafter not less than ten (10) days prior to any
expiration or renewal date, the Contractor shall iiirnish to FedEx certificates of insurance reflecting policies
in force. Contractual liability insurance shall specifically acknowledge the provisions of Section 9.

      Section 11. Standard of Performance. The Work shall be performed in a good workmanlike
manner in accordance with the standards of Contractor's profession and such other accepted standards as
may be applicable to Work of this kind.

         Section 12. Change in Work, (a) FedEx and Contractor may agree upon extra work or make
changes by altering, adding to, or deducting from the Work described in the Services by signing a change
order in the form of Exhibit B. Work pursuant to a valid Change shall be perfonned subject to the
conditions of this Agreement and the applicable Services.

         (b) FedEx, also by written instruction to Contractor, may make immaterial changes in the Work
not involving extra cost, effort, or risk to Contractor, and not inconsistent with the purposes of the Work set
forth in the Services, without execution of a Change Order, but otherwise, no extra Work shall be done or
changes made unless pursuant to an executed Change Order, and no claim for an addition or reduction to
the Fee, or an increase or reduction in any Services shall be valid unless reflected in an executed Change
Order.

         (c) Upon receipt of a written request from FedEx for changes in the Work described in any
Services or for extra work which would affect the Fee Amount set forth in Exhibit B, Contractor may
submit a statement detailing Contractor's proposal for accomplishing the changes proposed by FedEx and

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the effect, if any, on the Fee. If FedEx accepts Contractor's proposal, an updated Exhibit B shall be
executed by the parties to affect the Work, and the Fee as agreed.

        Section 13. Compliance with Laws, (a) Contractor will comply with the laws, statutes, ordinances
and regulations, federal, state, county or municipal, now or hereafter in force, applicable to this Agreement
or to the Work of Contractor under this Agreement. In addition, to the extent applicable to the Contractor,
it agrees to comply with the affmnalive action requirements applicable to contracts with government
contractors as set forth in title 41 of the Code of Federal Regulations.

         (b) Contractor hereby agrees to employ only persons who are legally authorized to work in the
United States and to have an 1-9 employment authorization form, if required, for each person employed by
il. Further, the employees of Contractor performing the Work shall throughout the Term of this Agreement
and be deemed employee of Contractor for all purposes, and shall not be deemed to be employeesj servants,
or agents of FedEx for any purpose. Contractor is responsible for and will pay all payroll and withholding
related taxes associated with Contractor's employees.

          (c) The Contractor agrees to indemnify, defend and hold harmless FedEx, its officers, directors
and employees from mid against any and all claims, losses, demands, actions, administrative proceedings,
liabilities, and judgments, including reasonable attorneys' fees and expenses, arising from the Contractors
or its subcontractor's failure to comply with the provisions of this Section.

       Section 14. Events of Default, (a) If any of the following events of default (the "Events of
Defaulf) occur, the aggrieved party may terminate this Agreement in whole or in part at its option:

       (i) If either party fails in the full and punctual payment of any sum due to the other and that
               failure continues for more than ten business days after the defaulting party's receipt of notice
               that the payment is late;

       (ii) If either party fails in the performance of any obligation that it undertakes under the terms of
               this Agreement and that involves more than the payment of money to the other party and that
               failure continues for more than ten business days after the defaulting party's receipt of notice
               from the other party;

       (iii) If either parly makes a misrepresentation to the other in this Agreement or in any document
                  that it must deliver to the other in accordance with the terms of this Agreement and fails to
                  rectify the misrepresentation for more than ten business days after the misrepresenting
                  party's receipt of the notice from the other party;

       (iv) If either party files a voluntary petition in bankruptcy ; fries any petition or answer seeking
               organization, composition, readjustment, liquidation or similar relief tor itselt under any
               present or future statues, law or regulation of the United States; seeks, consents to, or
               acquiesces in, the appointment of any trustee for a substantial portion of its assets ; makes
               any general assignment for the benefit of creditors; or admits in writing its inability to pay its
               debts generally as they become due;

       (v) If creditors of either party file a petition against that party seeking any reorganization,
               composition, readjustment, liquidation or similar relief under any present or future statute.

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                law or regulation of the United States and, notwithstanding efforts of the affected party to
                cause the petition to be dismissed or stayed, the petition remains effective for an aggregate
                period of 60 days (whether or not consecutive); or, any trustee, receiver or liquidator of the
                affected party is appointed in connection with the petetion, that appointment remains
                effective for an aggregate period of 60 days (whether or not consecutive), notwithstanding
                efforts of the affected party to cause the appointment to be vacated or stayed ;

        (vi) If a court of competent jurisdiction enters and order for relief in any proceedings initiated by
                 or against either party in accordance with any present or future statute, law or regulation of
                 the United States pertaining to bankruptcy or the reorganization, composition, adjustment or
                liquidation of the debts and obligations of debtors ;

        (vii) ff Contractor or any officer or principal owner of Contractor is indicted for a felony.

No termination accomplishment in accordance with the foregoing will constitute an election of remedies.
Either party may pursue any other remedies provided by law or equity including, if applicable, injunctive
relief, specific performance and/or damages.

       (b) Upon the occurrence of an Event of Default by either party, the non defaulting party may
terminate this Agreement without prejudice to any other remedy available to it by giving the defaulting
party written notice at least five days in advance of the effective date of the termination,

        (c) Upon the occurrence of an Event of Default by FedEx, Contractor may retain all sums
previously earned and paid by FedEx, but Contractor's retention of those sums will neither limit or impair
rights Contractor may have as a result of FedEx's default nor constitute an election of remedies, Also, if an
Event of Default by FedEx occurs and if FedEx fails to rectify the Event of Default within five business
days after the date on which Contractor delivers written notice in which it advises FedEx of its intent to
stop the Work, Contractor may stop the Work until FedEx rectifies the Event of Default.

       Section 15. (a) Asaifmment. This Agreement shall inure to the benefit of and be binding upon
each of the Parties and their respective successors and assigns, but neither the rights nor the duties of either
Party under this Agreement may be voluntarily assigned or delegated without the prior written consent of
the other Party, except that FedEx may assign all or any part of its rights and delegate its duties under this
Agreement to an entity that controls, is controlled by, or is under common control with, FedEx.

      (b) Section Headings. All section headings and captions used in this Agreement are purely for
convenience and shall not affect the interpretation of this Agreement.

        (c) Exhibits. All exhibits described in this Agreement shall be deemed to be incorporated in
and made a part of this Agreement, except that if there is an inconsistency between (his Agreement and the
provisions of any exhibit the provisions of this Agreement shall control. Tenths used in an exhibit and also
used in this Agreement shall have the same meaning in the exhibit in this Agreement.

       (d) Applicable Law, This Agreement shall be governed by and interpreted in accordance with
the laws of Arkansas, and the Parties submit to the jurisdiction of any appropriate court within Arkansas for
adjudication of disputes arising from this Agreement, without regard to the application of choice of law
rules or principles,

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        (e) Modification, Except as otherwise provided, this Agreement shall not be modified except
by written agreement signed on behalf of FedEx and the Contractor by their respective authorized officers.

       (t) Exclusive Agreement. This Agreement supersedes all prior understandings, representations,
negotiations, and correspondence between the Parties, constitutes the entire agreement between them with
respect to the matters described, and shall not be modified or affected by any course of dealing, course of
performance, or usage of trade.


       (g) Severability. If any provision of this Agreement is held to be invalid, illegal, or
unenforceable, the validity, legality, and enforceability of the remaining provisions shall in no way be
affected or impaired.

        (h) Waiver. The failure of either Party at any lime to require performance by the other of any
provision of this Agreement shall in no way affect that Parly's right to enforce such provision, nor shall the
waiver by either Party of any breach of any provision of this Agreement to taken or held to be a waiver of
any further breach of the same provision or any other provision.

       (i) Survival. The provisions of this Agreement which by their nature extend beyond the
expiration or earlier termination of the Agreement will survive and remain in effect until all obligations are
satisfied. Specifically, the Contractor's obligations to indemnity FedEx shall survive this Agreement.

      (j) Disclosure. The Contractor shall in each instance obtain the prior written approval of
FedEx eonceming exact text and timing of news releases, articles, brochures, advertisements, prepared
speeches and and other information releases concerning this Agreement,

        (k) Counterparts. This Agreement may be executed in any number of counterparts and each
fully executed counterpart shall be deemed an original, but together constituting one agreement.

        (1) Change In Control. In addition to such other rights as FedEx may have, FedEx shall have
the right to immediately terminate this Agreement upon any change in the ownership or voting control of
fifty-one {51%) or more of the capital stock or assets of Contractor. Contractor shall notify FedEx in
writing at least thirty (30) days before any such change in control of the capital stock, business, or assets of
Contractor.

       (m) Financial Information. Contractor agrees to provide to FedEx, within one hundred twenty
(120) days after the end of each fiscal year of Contractor, a financial statement, prepared in accordance with
generally accepted accounting principles and audited by and independent, certified public accountant.
Additionally, Contactor will immediately notiiy FedEx if at any time during the Term of this Agreement
FedEx becomes Contractor's only customer or if at any time Contractor employs less than six employees.
Upon such notification, FedEx shall have the option to terminate this Agreement upon notice to Contractor.
Contract shall also provide FedEx with the number of its customers and/or employees at any time upon
FedEx's request.


      (n) Notices. All notices, approvals, requests, consents and otlier communications given
pursuant to this Agreement shall be in writing and shall be effective when received if hand delivered, sent
by FedEx Express service or sent by United States certified or registered mail, addressed as follows:

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        [f to Contractor:     Universal Protection Service
                              Mike Newberry
                              700 E Butterfield Rd
                              Suite 320
                              Lombard, IL 60148

       With a Copy to:        Universal Protection Service
                              Wendy Beerbower
                              1260 Morena Blvd
                              Suite 200
                              San Diego, CA 92110

       If to FedEx:           FedEx Freight, Inc
                              Twila White, Sourcing Advisor
                              2200 Forward Drive
                              Harrison, AR 72601

       With a copy to: FedEx Freight, Inc
                              Del Cote, Manager Guard Services
                              1479 Town Center Dr
                              Suite D 214
                              Lakeland, FL 3380

       (o) Further Assurances. Each Party agrees that it will take such actions, provide such
documents, do such tilings and provide such further assurances as may reasonably be requested by the other
Party during the term of this Agreement.

        (p) Force Majeure. Neither party shall be liable for non-performance hereunder to the extent
such performance is prevented by tire, earthquake, tornado, flood, other weather event, explosion, embargo,
war, terrorism, riot, governmental regulation or act, act of God, act of public enemy, or by reason of any
other cause beyond such parly's reasonable control (each a "Force Majeure Event"), A parly's obligations
to perforin timely will be excused lo the extent and for so long, but only to the extent and for so long, that
such performance is prevented by a Force Majeure Event. During the pendancy of such Force Majeure
Event, the other party shall be excused from performance of its obligations under this Agreement that is
dependent upon the parallel performance of the non-performing party.

       Section 16. Validity of Agreement. Each party acknowledges to the other that the person
executing this Agreement on behalf of such party is duly authorized to do so. This Agreement shall not be
valid nor binding upon FedEx unless it shall have been executed by an officer of FedEx. No hand written
changes lo this Agreement shall be effective unless initialed by FedEx's allomey,

       Section 17. Supplier Scorecard. (a) From lime to lime, FedEx may review Contractor's
performance using criteria to be mutually agreed upon between the parties.




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       (b) FedEx and Contractor will evaluate the performance of each Security Guard, not less than
quarterly. In the event a Security Guard does not satisfy the expectations of FedEx, the Contractor will
provide a satisfactory replacement in a timely manner.

       Section 18, Reporting, Contractor shall report, on a quarterly basis and in a format to be agreed
upon, based on FedEx's business quarters and due within three (3) days of the end of the quarter, all
expenditures, related to its contract with FedEx, that Contractor makes or awards to minority and women-
owned businesses.

        Section 19, Attorneys Fees. In addition to any other available remedies, in the event any litigation
arising out of this agreement or the underlying services, the prevailing party shall be entitled to recover its
reasonable attorney's fees, court costs and disbursements.



       IN WITNESS WHEREOF, the Parties have signed this Agreement on the date first above written.




                  ("Contractor")                                           ("FedEx")




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                                       Exhibit A (Services)
                                Security Guard Responsibilities
                                  Date:




1. All references to FXF in this Appendix will refer to FedEx Freight, Inc.

2. This post shall be a uniformed, unanned post at all times. This post is manned



3. The specific location of this guard post(s) will be located at the main pedestrian and vehicle entrance.
   The entrance of the post(s) is located on ,
     a. This post shall remain attended at all times unless the Security Officer on duty is properly
         relieved by another Security Officer or their Supervisor or a FedEx Freight, Inc. associate in a
         management or supervisory capacity.
       b. Security Officer shall wear a reflective security vest provided by Guard Company from dusk
           until dawn or seen fit by local security specialist.
       c. The Guard Company will provide a site cell phone with charger for the security officer to use
           for work related issues only.

4. All persons entering or exiting FedEx property on foot through any entry point that is guarded must
    sign in or out on the appropriate log each and every time they pass through said entry point. This is to
    include all employees, guests, and deliveries. All employees must show company picture
    identification. This policy will be adhered to at all times.
        a. Card access readers: If card access readers are present at entree/exit point employees will
             scan their badge and will not have to sign the entry/exit logs.

5. The Security Officer is to report any suspicious activities, perceived loss, hazards or unsafe
    conditions, etc. to the FedEx Freight, Inc. Service Center Manager on duty immediately.
       a. To contact FedEx Freight, Inc. management on weekends and during hours of closure refer to
            the Emergency Contact Phone Number Sheet.
       b. An (SIR) Serious Incident report will be completed and sent to FedEx Security within (24
           hours) security will be contacted by verbal communication immediately.

6. The following FedEx Freight, Inc. Service Center Management level personnel are ONLY
   AUTHORIZED to temporarily modify post orders FOR THE REMAINDER OF AN OFFICER'S
   SHIFT on an emergency basis:
       a. Service Center Manager
       b. Assistant Service Center Manager
       c. Operations Supervisor



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7. Any permanent changes lo post orders or scheduled Security Officer's hours will need FedEx Freight
    Security's approval. The following FedEx Freight, Inc. Security Management level personnel are
    authorized to such changes,

       a. Floyd Dixon III, Managing Director, Security
       b. Senior Manager, Security
       c. , Security Specialist
       d. Deleston Cote, Manager - Guard Services


8. The Security Officer shall sign in all vendors who wish to enter the property only after contacting
    FedEx Freight, Inc. Service Center Operations on duty and approving their entrance before being
    allowed to enter the property, unless already on the updated approved vendor list provided by the
    Service Center Manager,

9. The Security Officer is expected to be courteous at all times, but firm with all who enter or exit the
    property including employees, visitors, guests and vendors.

10. Employees will allow Security Officers to inspect all bags, lunch boxes, etc for unauthorized property
    when requested by Management. The Security Officer, if needed, will ask the employee to move any
    item that may block or prevent the Security Officer from visually inspecting the content. Women's
    purses will not be inspected. The Security Officer will visually check the employee's person for any
    abnormal or questionable bulge that may raise reasonable concern that unauthorized property may be
    hidden. Under no circumstances will a Security Officer touch the employee,

       a. The search will be conducted as follows:
       b. Anyone with baggy trouser legs must lift them up for Security (you).
       c. Anyone wearing a jacket must lift up the back of the jackel for Security (you),
       d. Anyone carrying a lunch box, briefcase, and large handbag must open and allow Security
           (you) to see inside,

       e. The Security Officer will ask employee to remain at the Gate until an on-duty Supervisor can
           be summoned for assistance in determining the reason for the abnormal or questionable bulge.
           If employee refuses to remain until on-duty Supervisor arrives, do not detain and report
           incident immediately to the on-duty Supervisor, noting the incident on the Security Officer
           Daily log or incident report.

11. Vehicle searches; ALL vehicles entering FedEx Freight property are subject to inspection before
    leaving the yard. Ask the person driving the vehicle to open up the doors and trunk of vehicle so the
    officer can inspect inside.

   The search will be as follows:

       a. Look inside the vehicle and use a light if necessary, to see what is in plain view, ask the driver
           to open the trunk, the guards will not touch any of the persons property.
       b. The guard will ask for the BILL of LADING (BOL) and compare items to list- also the PRO
           number. If there is a discrepancy, ask the driver to return to the loading area and use the radio
           to alert FedEx Freight supervisors and advise them of your findings.

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       c. If they do not cooperate get License plate number and pro number and advise FedEx Freight
            supervision immediately. Do not attempt to detain or block their exit. FedEx Freight
            Management will handle from tins point,
       d. We do not allow any of our Employees to leave with pallets, straps, or any other FedEx
            Property,
       c. We ask only that you do a cursory search using only your eyes.



12. The Security Officer will not get into either a verbal or a physical confrontation with anyone. If a
   person refuses to cooperate with the Officer's instructions, identify them and contact a supervisor
   immediately.

13. When signing in and out any FedEx Freight, Inc. tractors or trailers note the difference between local
    tractors and road tractors. Generally FXF road tractor numbers starts with an "R" and the local
   Tractors with an FXF trailers have "P" to indicate it is a P&D trailer aiid also an "X" (double
    axel trailer) and "Y" (single axel trailer). There are some exceptions to this, but very few. When
    documenting the trailers if there is a letter in front of the number example: P, X or U it must be
    documented on the log.

14. Exiting Trailers: For FedEx Freight, Inc. & Purchased Transportation Tractors pulling FedEx
   Freight, Inc. Trailers exiting the gate, Guards are to check for miss-pulled loads, comparing trip sheet
   to employee; tractor; seals and dolly numbers in order to head off freight going to the wrong location
   and turn the driver and freight back to the dock for correction,

15. Entering: FedEx Tractors, Line Haul or Power Units pulling FXF equipment do not have to sign in,
   but for Safety reasons will come to a complete ''Stop" before entering yard same for P&D and City
    Drivers. All foreign tractors entering the service center MUST stop, sign in and verify their company
   & valid driver's license when pulling foreign or FedEx trailers Security Officer will also verify
   equipment information.

16. Exceptions to sign in/out policy are as follows: we will allow the US Postal Service, emergency
   vehicles, UPS, FedEx Express, FedEx Ground delivery drivers and any road driver to enter the
   property without signing in/out; however, they must be in their vehicles at the time of entrance and
   display valid company identification.

17. It is of the utmost importance to visually inspect the numbers displayed on all outgoing equipment.
   This information must be verified before allowing any tractor trailer(s) to exit the property. Ask the
    driver of the equipment for his Delivery Manifest / Dispatch Instructions. Each Delivery Manifest /
    Dispatch Instructions will indicate the trailer by number in the top portion of the paperwork. If the
    driver cannot produce a Delivery Manifest / Dispatch Instructions then the driver must advise you that
   the trailer is empty, in which case The Security Officer asks the driver to turn off the engine, set the
   parking brake and open the trailer door while you check the interior of the trailer to verify it is in fact
   empty. At all times the equipment numbers entered on the sign out sheet by the driver must be
   visually verified and must match what was written by the driver. If the equipment numbers do not
   correspond to what was written inform the driver of the discrepancy. If the driver persists in taking
   the equipment off the property after being informed of a discrepancy you are to contact FedEx
   Freight, Inc Management immediately with the information. At no time will a trailer leave the yard

                                                                                      12
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       without paperwork or verification from Central dispatch (800-447-8140). When verifying with central
       dispatch please make note of the person's name and time of communication.

    18. All information recorded on the sign in/out log sheets will be printed and legible except for signatures
        and made by the person entering/exiting the property in their own print.

    19. Exiting: Ensure (hat all trailers leaving the property have closed doors and are locked by padlock and
        (or) seal. If there are two trailers in tow both front and rear trailer is to be physically checked for a
        lock and seal, seal number(s) will be written down in the truck log and matched with the paperwork
        for accuracy. "For Safety reasons do not walk between double trailers unless Tractor is "shut off
        and parking brake is applied". ALL units exiting service center will stop to allow Security Officer
       to verity equipment information, record the tractor, trailer(s) and dolly numbers for units exiting truck
       gate on truck registration log. Units exiting will produce the following documents; Linehaul/Road
        Drivers will surrender their Unehaul Trip sheet or Dispatch Instructions for unit verification; P&D
       Drivers will surrender their Trailer Loading Manifest for unit verification. P&D/City Drivers Trailers
       must have a locking device (i.e. pad lock, seals, etc.) affixed to trailer door latch prior to leaving the
       Service Center. All information will be recorded on the Truck Registration Log (In the event a seal
       discrepancy is noted, the trailer should be turned around and re-manifested. The re-manifest
       must be done electronically. No hand written seal changes are acceptable.

   20. Exceptions to sign in/out policy are as follows: we will allow the US Postal Service, emergency
       vehicles, UPS, FedEx Express, FedEx Ground delivery drivers and any road driver to enter the
      property without signing in/out; however, they must be in their vehicles at the time of entrance.

   21. Bobtail (Tractor only): Record the tractor number exiting premises on the Truck Registration Log.

   22. Record retention: Visitor logs. Daily Sign-In Sheet (Inbound), Daily Sign Out (Outbound) Sheet,
       Purchased Transportation inbound/outbound log & Accident or Incident reports will remain on file at
       the Service center for (12) Twelve Months.

   23. Forms library: FedEx Management can print a copy of the forms from our intranet home page and
       hand out to the Security Officer enforcement to make copies. Logs available; Visitor Sign-In / ITR-
       282-ALL, Truck Log / Company & Purchased Transportation SC267.

General Information:

The use of client phones, including cellular phones, computers or other equipment for personal use is strictly
prohibited.

The Guard House is for the Security Officers use only. Do not allow employees or guests to loiter. The use of
the Guard House telephone by employees or vendors is not permitted. Personal visitors are not permitted
during your shift. The Security Officer is responsible for keeping the Security Officer's post clean.

Security Officers will only wear uniform attire approved by the Guard Company and FedEx Freight, Inc.
Corporate Security, Security Officers are not allowed to view any personal TVs, TV/DVD combinations,
DVD players, electronic devices (i.e. iPods, MPS players, PSPs, etc) and are not allowed in the guard


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house at any time. Portable radios and/or portable CD players are permitted as long as the volume is not
excessive.


Security Officers shall not respond to any request for information from any news media
(Newspaper/TV/Radio) organization. Refer all inquiries to the client.

The Security Officer will not discuss security matters with anyone other than their supervisors, or the
management of FedEx Freight, Inc.

FedEx Freight, Inc. is a Non-Smoking facility and therefore, smoking is not permitted anywhere inside the
premises. Smoking is permitted in designated areas only.

 Security officer is required to complete two rounds per hour (unless otherwise noted under bullet number
23., site specific post orders) inside the terminal yard and all along fence lines checking for holes in fence,
making sure tractor & trailer doors are locked/sealed, ensure no freight is on the ground and report anybody
off the dock (if applicable).

If security post is a "Cold Start" (Security starts when not relieving another guard), the guard and designated
FXF personnel will walk the yard together to determine that all freight has been secured.

Generators; Some but not all Service centers have generators. During business or static hours, if the
generator turns on, please notify FedEx Management immediately.

  Guards are required to sign off on any Post Orders that applies to the facility BEFORE standing post.

Ensure no personal vehicles are inside the yard.

23. Any additional "site specific related post orders" are to be written in this section;




Additional Duties/Comments:



These Post Orders supersede any other Post Orders on file




                                                                                        14
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                                                                            Exhibit B
Contra! Region                                                                                                                                 Weekly Rates
                                                                          See Prices
Freight Locations                                                         bolow                                             VEAR:                 YEAR 2                        YtARS
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BOLINGBROOK (BOL)                   IL             128     Officer        Patrol Car          Direct Scfv'ft             ^0.01] %4f3.l0                                               vito
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CHICAGO HEIGHTS (CGT)               IL
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                                                           Captain                            ftnsst Sci^o          ' tm                     Sli <b         mt*
EFFINGWM (EFH)                      IL             72      Officer        Patrol Car          BlrtttSfttva                10.00              simss-         W-:                       $43#
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                                                           Captain                            cil/BCtSeiya          -
ELMHURST (ELH)                      IL             128     Officer                            Slteift SeTfa               im .siS,fia       mw              :m&4'                     -mm
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ROCK ISLAND (RKI)                   IL             44      Officer        Patrol Car          i)TiTictSelV3              10^0                               «3ie4>                    W64-
                                                           Supr/Srat                          DllertScfVo                                    5^t2&          m?           JitSs • '11®)!#
                                                           Captain                            fflrcdt^cfvc               >11.00 •$f4.0i5     Stl!25.        $1W9                      iWWB
SchauniWrq (S8G)                    IL             168     Officer        Patrol Car          bitactse^e                          113,68                    j-iiw-                    :Si3.W
                                                   40      Supr/Srqt                          Direct Serve;               11.00 Sl'TSS      ,«1.S8 .                     .IftjL. • $16.19
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FlWavnoJFWAl                        IN             88      Officer                            ulfcct Sci'vo                9.$"0   412,01    SB,7«                   ,^(75 ,$1».16
                                                           Supr/Srqt                          Direct Scrva                10^0     V.i*t     $10.75          Sf4.61 '$l6,7S 514.51
                                                           Captain                            Direct Scfv'4               1O.S0              5lCl,7ij       $14 01 510.7$ $H51
INDIANAPOLIS <INO)                  IN             272     Officer        Patrol Car          DlrcctSorva"                         *f^ei     39,75          •$ia:i6   $9^6 iia-io
                                                   40      Supr/Srqt                          Direct Serve                ago i SB          $11.76                       : $1*7.7$.   $16&1
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LAFAYETTE (LAF)                     IN             56      Officer        Patrol Car          Direct Serve                .9,50    31*01     SSI,75         $13.16         $9,^5      '$13,18
                                                           Supr/Sral                          niicu Serve                 io so              $10.76         $14.01        $<0.75      $14.51
                                                           Captain                            DnecrbefVc                  10.50    $14 W     $10.76         $14.51        Sittrs      !.$14.61

Muncle (MIE)                        IN             sa i Officer                               Dtrtct Saive'                9.sb    $t2 91    $9,75          $19.16         >9.76      $13.16
                                                        Suor/Srot                             Direct Serve                      $14.27       510.75         S14.51       JiO^g        $14.51
                                                           Captain '                          Direct Setva                JO so $v.ir        $10.75         $14.61        $io;7c      $14.91
Kansas cnyfKcyi                     KS             237 Officer            Patrol Car          Subconl/JiCl '               953 •M »          50,75          $13.6$        Tft.re •    $19.66
                                                   40 i Supr/Srgt                             Subr«intitict               lo.rti 51470       $10.76         $15.05        $fl).75'    |16,06
                                                           Caplain                            Subcontract                 I0.S0 «t4.79       510 75         $1«.0i5«      $10.76      $li.0!>
Uyinqton (LEX)                      KY             08 1 Officer           Palrol Car          blrect ^eivc                 9.(W    51223     SO 23          $12.'46        $9,26
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                                                           Suor/Srql                          Direct Spcvc                 &,E(j $18.91      $975           $13,16        $9.76       $13.16_
                                                           Caplain                            DjmctScrte                  10.00 $13.09       $10.29         $13.64        $10.28      "^64
LouiBVita (LOU) 775                 KY             128     Officer I                          Olrort Serve                 9.25 sir'-/       SB, SO         $12.03         $9.50      S1?.M
                                                   40      Suor/Srql !                        Dlicct Serve                10.00 Si" o        $10.26         S13.84        510.25      $13.64
                                                           Captain                            blruct Serve                1050 % •«.'        $10/6          $14.61 "     "SlifTjP     $14.61




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                                                          Exhibit B continued
Central Region                                                                        Weekly Rates




                                                                      Weekly Bill ^
Anrillarv Items:                              includes;                  Rate

Golf Cart - 2 oerson Electric              Maintenance                      $80.00
Golf Cart - 4 Hcrsort Electric             Maintenance                     $100.00
Port-o-Pottv                                                               5100.00
Cell Phono w/ CvCop              CvCop GuardTfacklna and ReportinR Inc. In QUI Rate
Patrol Vehicle                      Maintenance, Insurance, Fuel            $275.00




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                                                Exhibit B continued
Western                         Region                         Weekly                              Rates
                                                       See Prices
Freight Locations below                                             YEAR 1. YEAR 2 YEAR3
                               Plannu
                                                                    Dirtct Servt* or
                                 d                       Andllnry                       Pay
                                                                     Subcontrdd?
       LOCATION        State   Hours     Gusrtl Ty^e      Items                        Hate      Hill Rate   P.iy R.ite   Bill Rate   Pay Rote Uilinale
HOLBROOK (HOL)Drop Lol AZ       128 Officer                         Sl^tS^rva          ^iO-do    "£13.59 '   $rd.7i        $13 93 Sim $xm
                                40 Supr/Srgt                        Ofrel&sp'rvp       $11.00                $ii.7.7      $15.29 $11.25          MS.
                                    Captain                         OTrtctie'rVe >          <,115:           $11.25        $lB,2a" <¦$11.??.
PHOENIX (NPX)         AZ        128 Officer                                SerVe   ¦$10.00 $13,^9            $10.35       J$12M '$16:25«
                                40 Supr/SrRt                        birecfseirv^   Sll400 '$14.93            $1125         $'iS2H $ij 71,
                                    Captain                         Dtrc'ct^BrVe    $01.00 f?14.55   $11.23               '|1"5.2"9 $1^23" 1
PHOENIX (PHX)         AZ        128 Officer                         Dfrect Surve ..    $1(1.00 $u3a' $101?                $13,93    $iC0^5 .
                                40 Supr/Srgt                        bifaetlcfte        $n, dh         SS     $11.25-      ^1$,2S ^C25 | ^15.25
                                    Captain                         blfect^h^         Sii.oo $14.55 $11.25                ^15.2?" $11 73
TUCSON (TUC)          AZ        83 Officer                          Direct'Serve        $d.o6 ¦Sifca 1 $9.25               fU5/      $9 2r.  $12 5/
                                    Supr/Srgl                       DireetServe       Sio.od $33.59 $10.25                $33.93 ¦    Sio.if ! $AM3
                                    Captain                         Dtrgor'srtvjt     $10.00           $10:28"            $13.il3.    r$l0r2S ! -lim
ANAHEIM (ANH)         CA        128 Officer                         DirCtftSc&e       •SiOifio $-1^27  Sia^s-             $14,61      mwi! $11.61
                                40 Supr/Srgt                        birecf'^'r^     . ^2,00 $16 Jl" $12:25                $16.65 ^12 2a 1 Slfi 65
                                    Captain                         bTftfct^r - $12:00                       $12.25       $1P *'>  $i2~;5
DAKERSFIELD (BKF)     CA        88 Officer                          Subcontract"       SioiSd    $'.4 ¦'s    $10-75       $1$.15 '        $lKiS

SAN DIEGO (ESD)       CA
                                    Supr/Srgt
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                                    Captain                         blfcctS?rVfe       $11.00                >1123        $1W9                   $3 Si 7.9
FRESNO (FRO)          CA        88 Officer                          blnfc^lvc          Sl'p.OO   $1139       $1<5.2S      $33:93". •$io55"* $1^9^
                                    Supr/Srgt                       b)rlct'S6fre • -atftoo • $14.95          $H.2S                    Wat
                                    Captain                         Direct SgrVs    ill.QQ .^«95             $10.25                              •$£5.29'
FONTANA (FTAl         CA        128 Officer                         Dl^ct Serve     'SiOdO $13.&             $10.25       513.93. ima ¦ ,$li,93
                                40      Supr/Srgl                   DlfectServg      $11.00 $14.1)5          $13.75       $15.29 . $11.25 $15.29
                                        Captain                     Oirec^er^e       $11.00 $3^.95            $1U5        $1J>.29 .$11.25 $152J
GARDENA(GAR)          CA        128     Officer                     dlrcftt'scive > 5io;oo Sl3,B9            $10,25                $10.25 $l-3.$3_
                                40      Supr/Srgt                   Dlre'ct^orvfi      $11.00 $14,35.        $1125                    $llj25     $1^29
                                        Captain !                   Direct Srtvp       $11.00 $34.95         $11.25       $15.3^)     $1U5       $15'.29
IRVINE (IVN)          CA        128     Officer !                   Direct Serve       sio:so $14:77         $10.75       $14.^1      $10,75     $14.61
                                40      Supr/Srgl                   Direct Serve       $12 op Slfa.31         $12.25      $16.65      $17 7«     $16.65
                                        Captain                     DliertServe        $12.00 $16.31          $12,25      $16.6$      $12.7.5    $16.65
KETTLEMAN (KTL)       CA        208     Officer                     subcontract        $10.00 $14.09                      $14.44      $J.0.2i)   $14.44
                                40      Supr/Srgt :                 Subcbhtract        $12.00 $16,91         $17.25       $17.26      $12.25     $17.26
                                        Captain                     5ubconlr?ct        $14.00 $19(73         $14.25       $20.08      $14.25     $20.08
LOS ANGELES (LOS)     CA        128     Officer                     Direct Jorve       $11.00 $14.9^         $11,25       $15.79      $11.25     $15 23
                                40      Supr/Srgt                   DIroct Serve       $13i00 $17,67         $13,25       $18.01      $13.25     $18.01
                                        Captain                     Direct Serve       $13.00 $17.67         $13.75       $18.01      $13.75     $18,01
MODESTO (MOD)         CA         54     Officer                     Direct Servo       ^10.00 $13.59         $1Q.25       $13.93      $10.25     $13.93
                                        Supr/Srgt                   Direct Serve       $11.00 $W 95           SU.ii       $15.29      $11,25     $15.29
                                        Captain                     Dirfict Serve      $11.00 $14 95          $11.25      $15.29      $13 25     $15 29




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                                               Exhibit B continued
Western Region
SAN BERNARDINO (MRL)    CA   376 Officer         Golf Cart   Direct serve       $10.00 $13.59         $10.25     $13.93       $10 25     $13 93
                             40 Supr/Srgt                    blrect Serve       $11.25 Sis.Js         $11.50     $1$.G3       $11.^0     $15.63
                                 Captain                     Direct Serve       $13.66 $17.67         $13 2J.    $18,01       $13.75     $18.01
OAKLAND {OAK)           CA   160 Officer                     Direct Serve       $13 00                $13 25     $18.01       S1I.2S     >$18.01
                             40 Supr/Srgt                    Direct Serve                  $19.03 '   514 ?5     $ J !ll>37   s$'14 25   $1)3/
                                 Caplain                     Direct SfliVP      $34.00 $19.01         $14.25     $1S37. . M25, ,$19.17
ORANGE COUNTY (ONQJ     CA   128 Officer                     Direct Srryi1      510.50     $1<27      $10.75     514 fit .ysmn $14.61
                             40 Supr/Sfgl                    Direct Serve       $12.00                $12.25     $i6ses       M-M- $16^5
                                 Captain                     DfreCt Serve                                                        $15-55
                                                                                                      '410,2b
OTAYMESA (OTM)          CA   76 Officer                      Direct             Sior®                                            5l!l.93l
                                 Supr/Srgt                   Direct Serve       £U.O0 s<i4fSf$ <       $-1125 SIS.?*          Hm $15.20
                                 Captain                     Direct Serve       $34.,0(1                        ptes            J$i5.29
OXNARD (OXC)            CA   88 Officer                      Dlrpct'Servia                 $14?'       $ld.7S' W,BiK .$10:75 '$14.61
                                 Supr/Srgt                   Direct Serve       $12.QO $16.31          $12^ ^16^.                $15.C5
                                 Captain                     Direct serve       $12.00 '$11531         $12.25 $mfis >J2.25 $16.65
OXNARD (OXN)            CA   113 Officer                     Direct Serve ,     510.50                 $10.75 Amis               $14.61
                                 Supr/Srgt                   DlfflcfServfe      §12.00                 $12.25 . Slo.bS ;$i%25 $16,65
                                 Captain                     ufrect Serva       $lipQ '$Wi*            $1123 $16.65              $iS.G5
SACRAMENTO (SAC}        CA   256 Officer                     Direct 5<frve              $33,srl       'sicbs            '$$&- .•^1353
                             40    Supr/Srgt                 blfectServft       $12,00                 $12.25
                                   Captain                   DjractServe        $13.00 $i2;e7"''       il3*"3   5i8.or: $13.''S
SALINAS (SAL)           CA   88    Officer                   Direct Serve       $£1.00                sii'as                  'totes     £l5".39
                                   Supr/SrRt                 Dfrect Serve* -    $i?f50                $1175                              53/.33
                                   Captain                   PirettSqnrti.      $WvSU $19.71       $1J 7J»      ;             $14/3 i2P.05
SAN BERNARDINO (SBO)    CA   204   Officer                   Direct SCrve. •              "S&M" *$w&$                         $10 2!)$13 93
                             40    Supr/Srgt                 Direct Sorvfe. ,              &S&'" ."$11.50       im.M'         ffiLSb, jm*.
                                   Captain                   btrect .*                                $jii25
SAN DIEGO (SOO)         CA   128   Officer                   Direct S^rvp <               :$J13.S3-   $^¦25     immr* msv ;fl3.g3
                             40    Supr/Srgt                 blrect Seive-'     "Sii.oO     $'W-95                                       'siDaa
                                   Captain                   Direct ^fifve      iii.06     $14,95     $1155 , S"fS.2^ ilii-.i3
SAN FRANCISCO (SFC)     CA   63    Officer                   Direct Serve       $±¦4,60    $mo3       $U35 Jl" J7 •$14.25                $19.37
                                   Supr/Srgt                 binsci Serve       515,00     $20.3$     $15^25 1 $20.' I $15.25 .          $20.72
                                   Captain                   DlrectSyrvG        515.00                $15,-25 ' i$20.7f 415-2?           $20.72
SAN FERNANDO VL {SFV)   CA   128   Officer                   Direct Sferyc      $10.60                                  ^$10,25          $13.93
                             40    Supr/Srgt                 Direct Serve       $12.00 115.31         i.12 23            $12.25          '$16.65
                                   Captain                   Direct Serve       £12.06 .ftWl          $12 25             $t2.2S          ^16,65
SAN JOSE (SJC)          CA   168   Officer                   Direct Serve       $11.50 $^61           $11.75    *$15^7 4li.75            5119 ¦
                             40    Supr/SrRt                 Direct Sdrv6       $13.00 $17. S?        $13.25 $lS;'01 $13,25              $18.01
                                   Captain                   Direct Serve       $ii.oo $20,39         $15.25 $20.77      $14^23          $20.72
LOS ANGELES (SLG)       CA   214   Officer                   Direct Serve       $11.00     $14 95     $1125 $1$.29 &12t                  $15.29
                             40    Supr/Srgt                 Direct serve       $13.00 $17.(»7        $13 25 $18.01 $-13.25              $18 01
                                   Caplain                   Direct Serve       $35.00 $20.39         $li,25    $2072 , $15.25           $20,72
SAN LUIS OBISPO(SLO)    CA   78    Officer                   Direct Stfvc       $11.00 $14.65         $11.25    $lii,23 $11.25           $15.29
                                   Supr/Srgt                 Direct Serve       $13.50 $1W>           $13.75 518.69 $13.75               $18.69
                                   Captain                   Dirpct Serve       $13.50 $18.35         $13.75             $13.75          $18 69
STOCKTON (STK)          CA   128   Officer                   Dlrert Serve       $10.00 $13.59         $10 25 $^3.93 $10.25               $1*93
                             40    Supr/Srgt                 Direct Serve       $12.00 $16.31         $17.75    51G6S $12,75             $lb.&5
                                   Captain                   Direct Serve       $12.00 $10.31         $12.25 $16.65      $12.25          $16.65




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                                              Exhibit B continued
Western Region
WHITTIER (WHT)         CA   296 Officer                     Plrcci serve                           $10 2$     $13.91                 $13.93
                            40  Supr/Srgt                   direct s^rVe                '$&n       $3?.2S     $1G.65      iia'as '$16.65
                                Captain                     tWifct'Siarya.                         512^5      $16.65      $12 35 1 $16.65
DENVER(DEN)            CO   205 Officer                     BifottSjirve      '«0|p ' $16.31       $12,25     $16.65      sia^ij
                            40 Supr/Srgt                    fiirfotSferv'e              <i?.cy     $13.23     $i8.01      $a.*251
                                Captain                     Direct',                               Sii75      $ ig.es                $i:8.r9
BOISE (BSE)            ID   88 Officer                      ^ufcconVract      '$^(3 514.79         ^16.7-5    $15.15 .               $15,15
                                Supr/SrRl                                      ^tlvoo .SA^SO       $11.2£      $15.85                $15,S5
                                Captain                                        $11*^0 ,SM^o                   ¦$ls,riS    ja.zs."3ii^
MOUNTAIN HOME (MHM)( ID     128 Officer                     Subranfrtjcf-'              T^a"       '$10.75    ililS        $1073. $K15
                            40 Supr/SrRt                                      $13^ ^i£.ab          $11.25     515,85               Sis.se
                                Captain                     SubCtinitik       ' SilOO              "fetzs     >J5«        $11^5 ^15,85
BUTTE (BTE)            MT   128 Officer                     SLb'cQittri^'     'Msq      ^.4.79     $10.75.    isasafe.    ^10,7S
                            40 Supr/Srgt                    Subcontrak        ;^QO      $05.50     -$11.2$    $15.8!>.   J1125_ -$1S.'85
                                Captain                     gubco'fitrtfct              -$11^0                jj5 bi       $11.-2^ $15.65
ALBUQUERQUE (AQE)      NM   50 Officer                                        ¦MSQ      $109 ^L0.7S                        tyQW: 7$1S,15
                                Supr/Srgt                                                   H      ^1-1,25    ^isrsr:'               $i&w
                                  Captain                   Sufcconti^H-      -Mm                  '$iiVisv $3S:{)&       521 ?S
LAS VEGAS (LVS)        NV   128 Officer                     Su^Qn^ct' J.                           $11:25' Sw-PS          $11 25
                            40  Supr/Srgt                                      Si'ifl   mMi        ¦$12t25  $17,20;                  r$l7^-
                                Captain                     lifbi^hlTa'c't    IfljJO . myi                    HW.'                   $ia;e7
RENO(RNO)              NV   164 Officer                     Subc6iltfttt--    * MQ §iS.39           $9.7S     $13 '4       iU/i      «K
                            40 Supr/Snt                     SUbcbntiSee :     ^(£05                .SlOiZS    «bW4' -
                                Captain                                                 -$11.7)    $18,% $yj.is     $15.15
EUGENE (EUG)           OR   56 Officer                                        ^i®8      #14 0-     $JP^- $W M       $IW4
                                Supr/Srgt                   lutcohrra'ct^      JW.W     Sl(.91     $V a &Mp- $17 2S $17 i6
                                Captain                                                            $iZ25                             $\1*'<?
HERMISTON (HMS)        OR   168 Officer                     SiBcoBfracl^       s-ipw >ms9" $10.? i                       fSSfflVt*
                            40 Supr/Srgt                    SuKoflVract^.               •fiksn     $17 25     $17 26                 ^?6
                                Captain                     SuHfconEfatt                4"iF.9i'              $17.25 ^SlW.
PORTLAND (POR)         OR   216 Officer                     Dli'CCtSilSl& •             "UU*       $10 75     $13,93      mag* $13.98
                            40    Supr/Srgt                 DtfktSflWe                             ¦Stf&s     WftOS       $i/ *}>
                                Captain                     DlrectsaTVft -              »&3K       $12,^5 '               $12:25.
SALEM (SLM)            OR   54 Officer                      blroctSffrte -    -Siadb $03 39        $iO.'2S~               -$10,35-   $13.33
                                Supr/Srgt                   tirectSferve ,              $16,31 . $12 25       516.65      $fL25      $16.65
                                 Captain                    i^Hcts^rve         $KoO     '1631    $^2.25       $Jfa.6&' .$12;2&       '$1lS>,65
EL PASO (ETX)          TX   128 Officer                     subcontract         *§9.50              $S.7S     $13*74'' *$9,7S        '$«,74
                            40 Supr/Srgt                    Subcdilfract      ' S10.S0 i»v. /fl    $1073''    ifsjs       $10.75     SIS !«¦

                                 Captain                    Subtttftrddi    Sll CO $15.50 • $ilv25            $15.85             $15v85
SALT LAKE CITY{NSL)    UT   248 Officer         Golf Cart   pirflfitSa'rvc  $10.00 $13,59 5l0.?5              $13.93      $i0v2i $1393
                            40 Supr/Srgt                    Direct Sen/e    $12.00 $1631 $1225                $16^65      $12,J5   $16,65
                                 Captain                    Dir&ct SerVe    &3J0O $17.67 $13.25               $18.01      $19.25   $18.01
SALT LAKE CJTY (SLC)   UT   64 Officer                      blract Serve    $ld.oo $13.59 S10.2S              $13.93      $i0.2S $13,93
                                 Supr/Srgi                  Direct Serve   "$0^00 $16.31 $12-25                           $12,25 $16.55
                                 Captain                    tilfectien/a    51^.00 $t7.67 SlOf                $18,01      $l5.1b- $18.01
PASCO (PAS)            WA   88 Officer                      Subcontfact SlC.OO $14sOP $10.2S                  $14.44"     $10.3? $1/1,44
                                 Supr/Srgt                  Subcrintrani    Sii;o0 "$i»,a2
                                                                                    $1$01 $12.25              $17 26      $12 25 :$17,26
                                 Captain                    Subcontract     $lB.oo          $13.25            $18,67               $1,8,67
SEATTiE (SEA)          WA   1G8 Officer                     direct Serve    $^0,00 $1$.59 $10 25              $1393       $10,35 ' $13.93
                            40 Supr/Srgt                    pi?e.ct5eivft   $12.0d $16.31 $12,25              $16.65      3J?'S      $16.65::
                                 Captain                    ()Irect Serve   $13.00 $17.67 $13.25              $18 01      $13.25 vmE:
TACOMA (TAC] ! WA           128 Officer                     pireot Serve    $10.00 $13.59 $10.25              $13.93      $10.2S     ^;93,
                            40 < Supr/Srgt                  Direct "wjrvp   $12.00 $16 31 $1125               §16.05      $12.25 iifirel:
                                 Captain                    DireclSeive     $13 00 $17.07 $13.25              $18.01      m.?* $318.01;




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                                                         Exhibit B continued
Western Region
                                                               WfeeRlySiJI
AnclilBrv items:                       . Inciuttes: .             Rate

Golf Carl - 2 person Electric          Maintenance                  $80.00
Golf Cart - A person Electric          Maintenance                 $100.00
Port-o-Potly                                                       $100.00
                                 CyCop Guard Tracking and      inc. in Bill
Cell Phone w/ CyCop                 Reporting Software            Rate
pairol Vehicle                  Maintenance, insurance, Fuel       $275.00




Signatures:                                                                   Signatures:
Universal Protection Service                                                                FedEx Freight, Inc

                                                                              -v, Qb,jc<3^
Title:         (LtT^                                                          Title: /^Q- Cd^-P

Date:              /t                                                         Date:             t? - /1
                        ("Contractor")                                                      ("FedEx")




                                                                                                     20
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                                                   Exhibit C

                                                To that Certain

                                      Master Guard Services Agreement

                                                   Between

                                              FedEx Freight, Inc
                                                 ("FedEx")

                                                      and

                                         Universal Protection Service
                                               ("Contractor")



                                        INSURANCE CERTIFICATE
                                             AND POLICIES

        (a) Workers' Compensation Insurance, with employer's liability limits as required by applicable
law.
        (b) Commercial General Liability Insurance, naming FedEx and affiliated companies, and their
respective officers, directors and employees as additional insured, as their interests may appear under the
terms of this Agreement, including bodily injury liability, property damage and contractual liability
endorsements, with a combined single limit of not less than $1,000,000,00. (In the event that theft by
CONTRACTOR'S employee, agent or sub-contractor is excluded, then Crime, Dishonesty or Third party
liability coverage is required.)

        (c) Commercial Automobile Liability Insurance covering Carrier's owned, non-owned and hire
vehicles, naming FedEx and affiliated companies, and their respective officers, directors, and employees as
additional insured, as their interests may appear under the terms of this Agreement, including bodily injury
and property damage endorsements, with a combined single limit of not less than $ 1,000,000.00.




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